            Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________
                                                   )
LOOMIS SAYLES TRUST COMPANY, LLC, )
individually and on behalf of all others similarly )
situated,                                          )
                                                   )
        Plaintiff,                                 ) Civil Case No. 22-cv-6706
                                                   )
        v.                                         )
                                                   )
CITIGROUP GLOBAL MARKETS INC.                      )
                                                   )
                                                   )
        Defendant.                                 )
                                                   )

                               CLASS ACTION COMPLAINT

       Plaintiff Loomis Sayles Trust Company, LLC (“LSTC”), on its own behalf and on behalf

of all others similarly situated, brings this Class Action Complaint against Citigroup Global

Markets Inc. (“Citigroup” or “Defendant”) for its failure to achieve best execution in connection

with trades it executed on March 18, 2022 that resulted in excess of $70 million in damages.

                                       INTRODUCTION

       1.       Defendant was engaged as broker by LSTC and Loomis, Sayles & Company, L.P.

(“Loomis”), an investment advisory firm, on March 18, 2022 to execute several large orders (the

“March 18 Orders”) for LSTC, as trustee to certain investments trusts, and Loomis clients for

whom Loomis serves as an investment adviser (the “Loomis Clients”). Included with the March

18 Orders were orders to buy 780,856 shares in Shopify, Inc. (“SHOP”) and sell 5,236,139

shares in Colgate-Palmolive Company (“CL”) (together, the “Affected Orders”). LSTC and

Loomis directed Citigroup, through its trader Joseph Chiomastro (“Chiomastro”), to conduct

appropriate market liquidity analysis and use its discretion to execute the March 18 Orders in a



                                                1
            Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 2 of 15




manner that would not materially impact the prices at which the securities were purchased or

sold. LSTC and Loomis expressed that the Affected Orders did not need to be completed that

day in the event that Citigroup determined that there was insufficient liquidity to complete them

without materially impacting prevailing market prices. Citigroup accepted the Affected Orders

and agreed to execute as directed. Citigroup, however, failed to comply with LSTC and Loomis’

instructions and breached its obligations, including its duty of best execution. Citigroup, in

violation of its obligations, failed to conduct any meaningful liquidity analysis; placed the

entirety of the Affected Orders into the closing auction; flooded the market with those orders;

caused artificial price dislocation; made no attempt to cancel or reduce the size of the Affected

Orders pursuant to New York Stock Exchange (“NYSE”) rules; and failed to involve the NYSE

and/or the Designated Market Maker (“DMM”) to suspend the auction and supplement it with

more liquidity to ensure a reasonable closing price. Citigroup placed the entirety of the Affected

Orders into the closing auction, which resulted in execution at artificially dislocated prices.

Citigroup’s breaches caused damages to Plaintiff and Loomis Clients that participated in the

trades of SHOP and/or CL executed by Citigroup on March 18, 2022 (the “Class”), which are

estimated in excess of $70 million.

                                          THE PARTIES

                              Loomis Sayles Trust Company, LLC

       2.       Plaintiff LSTC serves as trustee for the Loomis Sayles Trust Company, LLC

Collective Trust for Employee Benefit Plans (the “Collective Trust”) and does so pursuant to the

Declaration of Trust, adopted effective as of February 13, 2007, as amended and restated

effective as of October 20, 2008, and as further amended as of September 15, 2012, December 1,

2016, and October 30, 2020 (the “Collective Trust Declaration”).



                                                  2
            Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 3 of 15




       3.       LSTC has legal standing to sue for losses sustained by the Collective Trust.

       4.       Section 3.1 of the Collective Trust Declaration provides that “[t]itle to all assets

held in the Collective Trust shall be vested in the Trustee [LSTC].”

       5.       Section 3.3 of the Collective Trust Declaration provides:

                The Trustee shall have the following powers and authority in the
                management and administration of each Fund, to be exercised by the
                Trustee in its discretion or, to the extent permitted by the Trustee, to be
                exercised by an investment adviser, if any, under the ultimate supervision
                and responsibility of the Trustee . . . (k) To settle, compromise, or submit
                to arbitration any claims, debts, or damages due or owing to or from the
                Collective Trust; to commence or defend suits or legal proceedings
                whenever, in the Trustee’s judgment, any interest of the Collective Trust
                so requires; and to represent the Collective Trust in all suits or legal
                proceedings in any court or before any other body or tribunal.

       6.       The Loomis Sayles Large Cap Growth Trust, Loomis Sayles Global Growth

Trust, and Loomis Sayles All Cap Growth Trust (the “Collective Funds”) are each investment

funds maintained within the Collective Trust, and established pursuant to Section 4.1 of the

Collective Trust Declaration.

       7.       On March 18, 2022, Defendant executed trades on behalf of the Collective Funds,

and purchased 77,067 shares of SHOP.

       8.       On March 18, 2022, Defendant executed trades on behalf of the Collective Funds,

and sold 545,389 shares of CL.

       9.       In total, Defendant’s failures to achieve best execution in connection with the

Affected Orders caused approximately $7.4 million in damages to the Collective Trust, for which

LSTC has standing to sue.

       10.      LSTC is not a citizen of New York for diversity purposes.

       11.      LSTC is a limited liability company chartered by the State of New Hampshire.




                                                  3
         Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 4 of 15




       12.     The sole member of LSTC is Loomis, a limited partnership organized in the State

of Delaware.

       13.     The general partner of Loomis is Loomis, Sayles & Company, Inc., which is

incorporated and has its principal place of business in the Commonwealth of Massachusetts.

       14.     The sole limited partner of Loomis is Natixis Investment Managers, LLC, which

is a limited liability company organized in the State of Delaware. Natixis Investment Managers,

LLC’s sole member is Natixis Investment Managers U.S. Holdings, LLC, another limited

liability company organized in Delaware.

       15.     Natixis Investment Managers U.S. Holdings, LLC has two members: Natixis

Investment Managers and Natixis Investment Managers Participation 1.

       16.     Natixis Investment Managers (“NIM”) is a French corporation, or société

anonyme (“S.A.”), with its principal place of business in Paris, France.

       17.     Natixis Investment Managers Participation 1 is a French limited liability

company, or société par actions simplifiée (“SAS”), which is wholly owned by NIM.

                                            Citigroup

       18.     Defendant Citigroup is a New York corporation with its principal place of

business located at 388 Greenwich Street, New York, NY 10013. Citigroup is a brokerage firm

regulated by the Financial Industry Regulatory Authority (“FINRA”) and is a member of the

NYSE qualified to purchase and sell securities.

                                        JURISDICTION

       19.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§1332(a) and 28 U.S.C. §1367 because the suit is brought against Citigroup, a citizen of New




                                                  4
          Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 5 of 15




York, by a named Plaintiff that is a citizen of a different state and the named Plaintiff’s claims

exceed $75,000.

        20.     Separately, this Court has subject matter jurisdiction over this case pursuant to 28

U.S.C. §1332(d) because the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, and at least one member of the Class is a citizen of a state other

than New York.

        21.     This Court has personal jurisdictional over Defendant because Citigroup is

headquartered in New York and undertook the actions at issue in this matter in New York.

        22.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because Citigroup is

located in this District.

                                  FACTUAL ALLEGATIONS

        23.     Citigroup is among the top brokers for Loomis’ Growth Equity Strategies

(“GES”) portfolios in terms of shares traded, transaction amount and commissions.

        24.     Citigroup is a global investment bank that has significant experience trading on

the NYSE. Citigroup is experienced in handling large trade orders.

        25.     Chiomastro is a current employee and registered financial professional at

Citigroup and, on information and belief, has been an employee since 2011.

        26.     Chiomastro was the primary Citigroup trader for orders for Loomis’ GES

portfolios.

        27.     March 18, 2022 was a day with particular liquidity in the market. Certain large

indices such as the S&P U.S indices were due to rebalance that day; multiple derivatives

products, including index options and index futures, were expiring in the open auctions; and

single stock options were expiring in the closing auction. The closing auction is the last event of



                                                  5
          Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 6 of 15




the trading day and “is a single-price auction that matches buy and sell orders at the price that

maximizes the amount of tradeable stock.” 1 As a result, March 18, 2022, known as a triple or

quadruple “witching” day, was expected to be a day with considerably more liquidity in the

market than on typical trading days.

        28.     On March 18, 2022, LSTC and Loomis, acting as investment adviser and agent

for a number of its clients, decided to adjust investment weights in the GES portfolios in order to

rebalance those portfolios. This involved selling certain securities and purchasing others.

        29.     In connection with the weight adjustments for the GES portfolios, LSTC and

Loomis placed two “waves” of trade orders for Citigroup to execute as broker and for the benefit

of LSTC and the Loomis Clients. Citigroup accepted both waves of trade orders.

        30.     The first wave consisted of 33 sell orders representing 1,250,393 shares for a total

value of approximately $130 million. These were supplemented by an additional sell order of

234,784 shares; collectively, these sell orders totaled 1,485,177 shares.

        31.     The first wave was accompanied by instructions that the trades were to be

completed the same day.

        32.     In connection with this first wave, LSTC and Loomis instructed Defendant to

“start early as needed” and “target MOC,” which means that an appropriate volume should be

transacted early, prior to close such that the remaining volume could be transacted at closing as

market-on-close (“MOC”) orders without materially affecting closing prices. These instructions

directed Defendant to place as many trades as needed during the trading day such that the




1
 Why You Should Care About the NYSE Closing Auction, https://www.nyse.com/network/article/nyse-closing-
auction?utm_source=navigation&utm_medium=nav&utm_campaign=tradenav; NYSE Trading Information,
https://www.nyse.com/markets/nyse-american/trading-info.

                                                    6
            Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 7 of 15




remainder of the trades could be completed in the closing auction without materially affecting

prices.

          33.   Defendant accepted the first wave of orders for execution on the terms submitted.

          34.   In the early afternoon on March 18, 2022, LSTC and Loomis placed the second

wave of orders through to Citigroup. This second wave, which came in two tranches, consisted

in total of 19,131,506 shares covering nine securities and consisting of three sells and six buys.

The second wave included the Affected Orders (a sell order for 5,236,139 shares of CL and a

buy order for 780,856 of SHOP).

          35.   The instructions for this second wave of orders included the directive that

Defendant exercise its discretion to execute the trades in a manner that did not materially impact

the prices of the securities being traded, including its discretion as to the order type, size, timing

and price for the trades.

          36.   The instructions for this second wave of orders were to “wave out what you think

is good for an aggressive MOC piece” and “trade the rest best way” and “can be most aggressive

near the close.” LSTC and Loomis also directed that the orders “[d]o not have to be complete on

any of the second wave.”

          37.   Trading the “rest best way” included Citigroup’s discretion to use a variety of

tools that Citigroup had available to it, including, for example, active intraday trading in the

continuous electronic auction using algorithms, manual order entry, and/or floor brokers, and,

with respect to the closing auction, limit-on-close (“LOC”) orders, which were expressly

discussed, and other tools such as floor broker discretionary orders (“D-Orders”).

          38.   Citigroup, through Chiomastro, accepted the second wave of orders on these

terms.



                                                   7
          Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 8 of 15




        39.     By these directions, which Citigroup, through Chiomastro, agreed to execute,

LSTC and Loomis directed Citigroup to conduct an appropriate liquidity analysis to determine a

reasonable quantity of shares to place as MOC orders aggressively without materially impacting

the prices at which the trades were executed and place the remainder of the orders in the best

way possible during the trading day, including near the close, or on a subsequent trading day.

        40.     In accepting these orders with the discretion to execute them in a manner

consistent with the instructions, including the discretion to refrain from executing orders that

could not be completed that day in compliance with Loomis’ instructions, Defendant took on the

duty of best execution.

        41.     Based on the instructions provided by LSTC and Loomis, it was or should have

been clear to Citigroup that LSTC and Loomis were relying on Citigroup to protect their

interests, including the interests of the Loomis Clients, and provide best execution of the trades.

        42.     The duty of best execution requires brokers to use diligent and reasonable efforts

to maximize the economic benefit to its clients in each transaction, and to take steps sufficient to

obtain the best possible results for its clients in executing trades.

        43.     The duty of best execution is a common law duty that predates federal securities

laws, and has found its way into the rules of various self-regulatory organizations such as FINRA

and the NYSE.

        44.     As the United States Securities and Exchange Commission (“SEC”) has

explained, “[a] broker-dealer’s duty of best execution derives from common law agency

principles and fiduciary obligations…. This duty of best execution requires a broker-dealer to




                                                   8
          Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 9 of 15




seek the most favorable terms reasonably available under the circumstances for a customer’s

transaction.” 2

        45.       FINRA’s Rule 5310 incorporates the common law duty of best execution and

provides that “[i]n any transaction for or with a customer or a customer of another broker-dealer,

a member and persons associated with a member shall use reasonable diligence to ascertain the

best market for the subject security and buy or sell in such market so that the resultant price to

the customer is as favorable as possible under prevailing market conditions.” (The causes of

action raised herein are not premised on FINRA Rule 5310; that rule is cited to give shape to the

common law duty of best execution.)

        46.       The NYSE has similarly incorporated the duty of best execution in Rules 123A.41

and 123A.43 as follows: “Market orders.— A broker handling a market order is to use due

diligence to execute the order at the best price or prices available to him under the published

market procedures of the Exchange” (NYSE Rule 123A.41) and “At the close orders.—A broker

handling an ‘at the close’ order is to use due diligence to execute the order in its entirety at the

closing price, on the Exchange, of the stock named in the order, and if the order cannot be so

executed, it is to be cancelled” (NYSE Rule 123A.43). (The causes of action raised herein are

not premised on NYSE rules; the above-rules are cited to give shape to the common law duty of

best execution.)

        47.       Citigroup failed to comply with its duty of best execution in connection with the

Affected Orders.




2
 Exchange Act Release No. 37619A (September 6, 1996), 61 FR 48290, 48322 (September 12, 1996) (Order
Execution Obligations Adopting Release).

                                                    9
           Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 10 of 15




          48.   Citigroup failed to conduct an appropriate analysis of the liquidity that the market

could bear in the closing auction for SHOP and CL without materially affecting execution price

even though the duty of best execution required Citigroup to do so.

          49.   Citigroup also failed to appropriately monitor the order imbalances for SHOP and

CL, which were available to Citigroup, including through its floor brokers, and to react

appropriately to the imbalance data even though the duty of best execution required Citigroup to

do so under these circumstances.

          50.   Shortly before the cutoff time to enter MOC and LOC orders for the closing

auction (3:50 pm EST), Citigroup entered large MOC orders for SHOP and CL, exacerbating

already-existing imbalances for those securities.

          51.   Citigroup put the entire quantity of the Affected Orders into the market for

participation in the closing auction as MOC orders.

          52.   Prior to placing the MOC orders for SHOP and CL, Citigroup was aware that the

quantities for the Affected Orders “were bigger than [the] street” and would “dominate the

trade.”

          53.   Citigroup’s actions of placing all of the shares of the Affected Orders into the

closing auction as MOC orders caused those shares to flood and dominate the auction, which in

turn materially impacted the execution price and caused damages to Plaintiff and the Class.

          54.   As a result, Citigroup purchased for Plaintiff’s Collective Trust and the Class a

total of 780,856 shares of SHOP at a price that spiked in the closing auction by some $90 per

share, causing in excess of $60 million in needless losses to Plaintiff and the Class.




                                                 10
           Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 11 of 15




          55.   Similarly, Citigroup placed the entirety of an order to sell 5,236,139 shares of CL

into the closing auction, which caused the price to drop causing in excess of $10 million in

needless losses to Plaintiff and the Class.

          56.   Consistent with the duty of best execution, Defendant should not have placed the

entirety of the Affected Orders as MOC orders in the closing auction when any reasonable

analysis of liquidity and imbalance data would have revealed that the auction could not bear the

full quantity of the orders without materially affecting the stock price.

          57.   Defendant should have properly determined the portion of the Affected Orders

that the closing auction could bear without materially affecting stock price and then “trade[d] the

rest best way” while heeding the directive that the entirety of the Affected Orders “[did] not have

to be complete” on the same trading day.

          58.   Additionally, Citigroup could have and should have cancelled the appropriate

portion of the SHOP and CL MOC orders that overwhelmed the auction prior to the 3:50 pm

cutoff.

          59.   Pursuant to the then-existing NYSE rules and policies governing the entry and

cancellation of MOC orders, MOC orders could be cancelled or reduced in size after 3:50 pm to

correct a “legitimate error.” 3 On information and belief, Citigroup’s errors in analyzing the

appropriate number of shares to enter into the closing auction, which caused extreme order

imbalances for both SHOP and CL, warranted canceling or reducing the size of the Affected

Orders on the basis of legitimate error. After 3:58 pm, Citigroup could have sought to cancel the

orders in light of its legitimate errors because execution of the orders would, and in fact did,



3
  See, e.g., NYSE Regulatory Memo dated March 14, 2022 regarding “Quarterly Expiration Day – March 18, 2022”
(available at https://www.nyse.com/publicdocs/nyse/markets/nyse/rule-
interpretations/2022/Quarterly%20Expiration%20IM%20Q1%20-%2022%20-%20Final%20-%20Corrected.pdf).

                                                     11
         Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 12 of 15




cause significant price dislocation at the close. On information and belief, Citigroup made no

attempt to cancel or reduce the size of the Affected Orders at any time.

       60.     Further, Defendant could have, and as a matter of its duty should have, availed

itself of other available measures that could have avoided the losses, including utilizing its on-

floor trading staff and/or contacting the NYSE on-floor ramp and other staff, and/or involved the

Designated Market Maker to suspend the auction for dislocation, call for more liquidity, and/or

cancel orders in the auction. For example, the then-existing NYSE rules expressly allowed the

Designated Market Maker to permit the solicitation and entry of orders after 4:00 pm to offset an

extreme order imbalance. On information and belief, Citigroup made no request that the

Designated Market Maker invoke such rule for either SHOP or CL, despite the fact that extreme

order imbalances existed for both securities.

       61.     Plaintiff and the Class paid commissions to Citigroup on account of the March 18,

2022 trades.

       62.     Citigroup filed a complaint with the NYSE related to the trades it executed for

LSTC and Loomis on March 18, but refused to provide Loomis with details of the complaint.

       63.     Loomis sent a written request to Citigroup for information regarding Citigroup’s

analysis on March 18, 2022 and a follow up request on May 25, 2022, but Citigroup failed to

provide any meaningful information and provided no substantive response whatsoever to the

May 25 follow up request.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       64.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of the Class consisting of LSTC and Loomis Clients that

participated in the trades of SHOP and/or CL executed by Citigroup on March 18, 2022 and were



                                                 12
         Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 13 of 15




damaged as a result of Defendant’s failure to execute the trades consistent with LSTC and

Loomis’ instructions and Defendant’s duty of best execution.

       65.     The members of the Class are so numerous that joinder of all members is

impracticable. There are in excess of two hundred class members.

       66.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendant’s breach of its duty of best execution

that is complained of herein.

       67.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class and complex civil litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       68.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are whether Defendant breached its duty of best

execution and caused the damages complained of herein.

       69.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. There will be no

difficulty in the management of this action as a class action.

                                   FIRST CAUSE OF ACTION
                                      (Breach of Contract)

       70.     Plaintiff re-alleges and incorporates by reference the allegations contained in the

foregoing paragraphs 1 to 69 as if set forth fully herein.

       71.     Plaintiff and the Class, directly or through their agent Loomis, offered to have

Citigroup use its professional discretion to execute the Affected Order for them on March 18,

2022 in accordance with the accompanying instructions and Citigroup’s duty of best execution

                                                  13
         Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 14 of 15




and related standards, and in exchange for commissions to be paid to Citigroup in connection

with the trades.

       72.        Citigroup accepted the offer, forming a binding contract.

       73.        Plaintiff and the Class performed in full.

       74.        Citigroup failed to execute in accordance with the accompanying instructions and

its duty of best execution, and, as a result, materially breached the agreement.

       75.        Plaintiff and the Class suffered in excess of $70 million of losses as a result of

Citigroup’s breaches for which Citigroup is liable.

                                   SECOND CAUSE OF ACTION
                                     (Breach of Fiduciary Duty)

       76.        Plaintiff re-alleges and incorporates by reference the allegations contained in the

foregoing paragraphs 1 to 75 as if set forth fully herein.

       77.        As a broker who agreed to take on the discretion to decide how to execute the

Affected Orders within the parameters delivered therewith, including discretion to determine the

order type, size, timing, and price for the trades, Defendant owed Plaintiff and the Class a

fiduciary duty.

       78.        Defendant failed to discharge its fiduciary duty, including its duty of care, by

failing to reasonably evaluate liquidity, by putting the entirety of the Affected Orders into the

closing auction despite the fact that there was inadequate liquidity, by failing to pull back the

orders and/or seek a halt to the closing auction when the imbalances were or should have been

apparent to Citigroup and by failing to achieve best execution.

       79.        Plaintiff and the Class were injured by Defendant’s breaches of fiduciary duty

and, as a result, caused Plaintiff and the Class in excess of $70 million of losses for which

Defendant is liable.

                                                    14
         Case 1:22-cv-06706-LGS Document 1 Filed 08/06/22 Page 15 of 15




                          PLAINTIFF DEMANDS A JURY TRIAL

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       a.     Certify the Class and enter judgment for Plaintiff and the Class and against

Defendant on each and every count in an amount sufficient to compensate Plaintiff and the Class

for the harm they have suffered.

       b.     Award Plaintiff its costs and attorney’s fees incurred in prosecuting this action;

and

       c.     For such other relief as may be just and proper.



                                       Respectfully submitted,
Dated: August 6, 2022
       New York, NY
                                       /s/ Leah S. Rizkallah
                                       Stephen P. Younger
                                       Leah S. Rizkallah
                                       Amanda Coleman
                                       FOLEY HOAG LLP
                                       1301 Avenue of the Americas
                                       25th Floor
                                       New York, NY 10019

                                       Dean Richlin (pro hac vice motion forthcoming)
                                       Matthew C. Baltay (pro hac vice motion forthcoming)
                                       Natalie F. Panariello (pro hac vice motion forthcoming)
                                       FOLEY HOAG LLP
                                       155 Seaport Blvd.
                                       Boston, MA 02210

                                      Counsel for Plaintiff Loomis Sayles Trust Company, LLC




                                               15
